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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

                                 MEMORANDUM


Honorable William B. Shubb
United States District Judge
Sacramento, California

                                         RE:    Blair Allen Lindsay
                                                Docket Number: 2:00CR00232-03
                                                PERMISSION TO TRAVEL
                                                OUTSIDE THE COUNTRY

Your Honor:


The releasee is requesting permission to travel to Kauai, Hawaii. Mr. Lindsay is current
with all supervision obligations, and the probation officer recommends approval be granted.


Conviction and Sentencing Date: On March 7, 2001, Mr. Lindsey was sentenced for the
offense(s) of Conspiracy to Import Methylenedioxymethamphetamine.


Sentence imposed: 54 months custody BOP; 36 months TSR; $100 Special
Assessment; $5000 Fine.


Dates and Mode of Travel:         03/27/06 to 03/31/06, Traveling via Airline (pending
arrangements).


Purpose: Releasee's wife received a company paid trip to Kauai, Hawaii. This is a
performance-based award, which includes all accommodations for the recipient and their
spouse. The releasee is current with all financial payments and has been cooperative with
the Probation Officer.




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RE:   Blair Allen Lindsay
      Docket Number: 2:00CR00232-03
      PERMISSION TO TRAVEL OUTSIDE THE COUNTRY



                               Respectfully submitted,

                                /s/ Michael A. Sipe

                                 MICHAEL A. SIPE
                         Sr. United States Probation Officer


DATED:       February 1, 2006
             Sacramento, California
             MAS/jc


REVIEWED BY:           /s/ Lori V. Clanton
           for     RICHARD A. ERTOLA
                   Supervising United States Probation Officer



ORDER OF THE COURT:

Approved X

Date: February 3, 2006




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